






NO. 07-03-0377-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



AUGUST 30, 2004



______________________________




DAVID LEE FOSTER, JR., APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 46TH DISTRICT COURT OF WILBARGER COUNTY;



NO. 10,295; HONORABLE TOM NEELY, JUDGE



_______________________________



Before QUINN and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION


	Appellant David Lee Foster, Jr., having waived his right to a jury trial, pleaded guilty
without the benefit of a plea bargain to manufacturing a controlled substance, and the trial
court found him guilty and assessed a sentence of 20 years confinement.  With four points
of error, appellant claims he was denied effective assistance of counsel, the evidence is
legally insufficient to support his conviction, and his conviction should be reversed because
the attorney for the State committed prosecutorial misconduct.  We affirm.

	On February 13, 2003, Larry Lee, an officer with the Wilbarger County Sheriff's
Department, received a phone call reporting a "possible meth lab actually in the process
of making meth" at a residence in Oklaunion, Texas.  When he arrived, Lee noticed a
pickup truck backed up to a shed at the rear of the property.  He then observed three
people run out of the building, get into the pickup, and attempt to leave.  Lee and another
officer who responded to the scene apprehended the three individuals and identified them
as appellant, who was the driver, appellant's wife, Maria Foster, and appellant's partner,
Cesilio Gonzales.  Inside the truck, Lee discovered a "fully loaded" pistol in a pouch on the
driver's door and an SKS, "high powered semi-automatic rifle" behind the seat.  When
officers entered the shed, they located a working "clandestine methamphetamine lab."  The
officers seized several jars of chemicals, which were later analyzed and determined to
contain methamphetamine and cocaine in various levels of concentration.  At trial,
appellant consented to a stipulation of evidence admitting each of the elements of the
offense contained in the indictment.  He further testified during the punishment phase and
freely admitted that: (1) he had a drug problem; (2) the guns seized from the crime scene
were his; (3) he manufactured the drugs at issue in this case; (4) he became "interested
in cooking dope and using the dope" when he was fifteen or sixteen; and (5) he "actually
made some profits out of the sale" of methamphetamine he manufactured.


	Before addressing appellant's specific contentions, we first acknowledge the
standard of review of an ineffective assistance of counsel claim.  To prevail on such an
allegation, a defendant must establish by a preponderance of the evidence that:  (1)
counsel's performance was deficient, that is, it fell below an objective standard of
reasonableness; and (2) there is a reasonable probability that but for counsel's deficient
performance, the result of the proceeding would have been different.  Strickland v.
Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984);  Rylander v. State, 101
S.W.3d 107, 109-10 (Tex.Cr.App. 2003).  A reasonable probability is a probability sufficient
to undermine confidence in the outcome.  Mitchell v. State, 68 S.W.3d 640, 642
(Tex.Cr.App. 2002).  In other words, appellant must demonstrate that the deficient
performance prejudiced his defense.  Id.  Failure to make the required showing of either
deficient performance or sufficient prejudice defeats the ineffectiveness claim. Garcia v.
State, 887 S.W.2d 862, 880 (Tex.Cr.App. 1994), cert. denied, 514 U.S. 1021, 115 S.Ct.
1368, 131 L.Ed.2d 223 (1995).  

	The adequacy of defense counsel's assistance is based upon the totality of the
representation rather than by isolated acts or omissions of trial counsel.  Id.  And, although
the constitutional right to counsel ensures the right to reasonably effective counsel, it does
not guarantee errorless counsel whose competency or accuracy of representation is to be
judged by hindsight.  Ex parte Kunkle, 852 S.W.2d 499, 505 (Tex.Cr.App. 1993), cert.
denied, 510 U.S. 840, 114 S.Ct. 122, 126 L.Ed.2d 87 (1993).  Appellate review of trial
counsel's representation is highly deferential and presumes that counsel's conduct fell
within the wide range of reasonable and professional representation.  Bone v. State, 77
S.W.3d 828, 833 (Tex.Cr.App. 2002).  That another attorney, including appellant's counsel
on appeal, might have pursued a different course of action does not necessarily indicate
ineffective assistance.  Sessums v. State, 129 S.W.3d 242, 247 (Tex.App.-Texarkana
2004, no pet. h.).  

	Any allegation of ineffectiveness must be firmly founded in the record, and the
record must affirmatively demonstrate the alleged ineffectiveness.  Thompson v. State, 9
S.W.3d 808, 813 (Tex.Cr.App. 1999).     In the absence of direct evidence in the record of
counsel's reasons for the challenged conduct, an appellate court will assume a strategic
motivation if any can be imagined.  Garcia v. State, 57 S.W.2d 436, 440 (Tex.Cr.App.
2001), cert. denied, 537 U.S. 1195, 123 S.Ct. 1351, 154 L.Ed.2d 1030 (2003).  Under
normal circumstances, the record on direct appeal will not be sufficient to show that
counsel's representation was so deficient and so lacking in tactical or strategic decision-making as to overcome the presumption that his conduct was reasonable and professional. 
See Mallett v. State, 65 S.W.3d 59, 63 (Tex.Cr.App. 2001).  Indeed, appellate courts can
rarely decide the issue of ineffective assistance of counsel because the record almost
never speaks to the strategic reasons trial counsel may have considered.  Id.  Although the
most effective procedure for presenting this claim may be via a habeas corpus, Aldrich v.
State, 104 S.W.3d 890, 896 (Tex.Cr.App. 2003), nevertheless, some claims may be
disposed of on direct appeal where trial counsel's ineffectiveness is apparent from the
record.  Freeman v. State, 125 S.W.3d 505, 506-07 (Tex.Cr.App. 2003).  

	We now direct our attention to appellant's first two points of error by which he claims
that he was denied his constitutional right to effective assistance of counsel, thus rendering
his plea involuntary and the resulting conviction void.  In support of the voluntariness of his
plea, appellant suggests we review letters written by him to the court prior to trial revealing
his skepticism of his attorney's competence and his reluctance to enter a guilty plea. 
Regarding the void conviction argument, appellant contends that his attorney failed to
appreciate the variance between the quantity of methamphetamine alleged in the
indictment and the proof of that amount at trial.  According to appellant, the indictment
alleged that he manufactured over 400 grams of pure methamphetamine, while the
evidence at trial merely established a combined weight for the controlled substances
seized from the crime scene of 167.33153 grams. (1)  This discrepancy obtains, he says,
because of the State's failure to include in the indictment the language, "by aggregate
weight, including adulterants or dilutants."  The omission of that phrase, suggests
appellant, resulted in his accountability for only that portion of the substance confirmed as
pure methamphetamine.  Then, because the quantity of drugs determines the range of
punishment in a manufacturing case, appellant argues that, had his attorney provided
effective assistance, "it is quite conceivable that [appellant] may have only been guilty of
a State Jail felony as opposed to an aggravated first degree felony."  See Tex. Health &amp;
Safety Code Ann. § 481.0112(b) &amp; (f) (Vernon 2003).  With appellant's contentions, we
disagree.

	When a defendant challenges the voluntariness of a plea entered upon the advice
of counsel contending that his counsel was ineffective, the voluntariness of the plea
depends upon: (1) whether counsel's advice was within the range of competence
demanded, and if not, (2) whether there is a reasonable probability that, but for the
ineffective assistance, the defendant would not have pleaded guilty and would have
insisted on going to trial.  Ex parte Moody, 991 S.W.2d 856, 857-88 (Tex.Cr.App. 1999). 
Because appellant did not file a motion for new trial raising his ineffectiveness claim, the
record has not been developed with respect to the reasons for the entry of appellant's
guilty plea, the advice provided to him, or counsel's trial strategy.  Without a record having
been developed on these issues, we are unable to determine whether appellant entered
a plea of guilty on the advice of counsel or whether counsel's advice was legally correct
and made pursuant to sound trial strategy. 

	With regard to appellant's assertion that his letters to the court "clearly reflect [his]
state of mind as to the involuntariness of his plea," we observe that the record reveals
abundant evidence demonstrating that his plea was, in fact, freely and voluntarily made. 
Indeed, we find the following exchange more probative of appellant's state of mind on the
day of trial:

		State:		So back to my original question.  You understand
completely what you pled guilty to?

		Defendant:	Yes, sir.

		State:		And that it's the over 400 grams which puts it into a
higher penalty bracket?  Do you understand that?

		Defendant:	Yes, sir.

		State:		Minimum punishment, fifteen years?

		Defendant:	Yes, sir.

		State:		If you are found guilty and you have pled guilty?

		Defendant:	Yes, sir.

		State:		You have signed a statement telling the Judge that you
are guilty?

		Defendant:	Yes, sir.

		State:		You wanted to do all that and you did all that
voluntarily?

		Defendant:	Yes, sir.

		State:		No one forced you to do it?

		Defendant:	No, sir.	

		State:		You understood the questions the Judge asked you
about that and all that?

		Defendant:	Yes, sir.

		State:		All right.  And you understand in all likelihood then that,
well, fifteen years is the minimum sentence?

		Defendant:	Yes, sir.

		State:		You know that?

		Defendant:	Yes, sir.

Bearing the preceding discussion in mind, and considering the lack of direct evidence of
what advice trial counsel gave appellant, whether it was legally correct, and whether that
advice was the product of sound trial strategy, we conclude appellant has failed to
demonstrate ineffective assistance by a preponderance of the evidence.  

	Furthermore, the genesis of appellant's void conviction argument is his
misunderstanding of the requisites of an indictment and the definition of a controlled
substance.  First of all, an indictment tracking the language of the statute will satisfy
constitutional and statutory requirements; the State need not allege facts that are merely
evidentiary in nature.  State v. Mays, 967 S.W.2d 404, 406 (Tex.Cr.App. 1998).  Moreover,
when a term is defined in the statute, it need not be further alleged in the indictment.  Id. 
Contrary to appellant's assertion, the indictment here tracked the language of the statute. (2) 
And, because controlled substance is defined by statute as a substance, including a drug,
an adulterant, and a dilutant listed in . . . Penalty Grou[p] 1" (3) and "includes the aggregate
weight of any mixture, solution, or other substance containing a controlled substance," it
was unnecessary for the State to define the term further in the indictment.  Tex. Health &amp;
Safety Code Ann. § 481.002(5) (Vernon 2003).  As a matter of fact, appellant manifested
his appreciation of the charge against him during cross-examination:

		State:		And you told him [the judge] that you are pleading guilty
because in fact you are guilty of the manufacture of
methamphetamine of 400 grams or more?

		Defendant:	Yes, sir.

		State:		As was accused in the indictment?

		Defendant:	Well, the only thing I feel that isn't right about it is over
400 grams.  I know y'all are weighing everything on it,
but as far as actual meth that you are going to make
money off of or do, there wasn't over 400 grams.

		State:		Well, I understand that but you understand the law says
the material that's in there?

		Defendant:	Yes, sir, I understand.


(Emphasis added).

	Even in the absence of a record detailing counsel's advice to appellant and
counsel's trial strategy, we conclude appellant has failed to establish by a preponderance
of the evidence that his attorney's representation fell below an objective standard of
reasonableness under prevailing norms.  Vasquez v. State, 830 S.W.2d 948, 949
(Tex.Cr.App. 1992).  Indeed, given the inaccuracy of appellant's assertions under these
points of error, trial counsel can hardly be faulted for "failing" to advise appellant in
accordance with them.  Thus, having failed to overcome the presumption that trial
counsel's conduct could be considered sound trial strategy, appellant's ineffective
assistance claims must fail.  We overrule his first and second points of error.  

	By his third point of error, appellant maintains that "[a]s a matter of law, [he] could
not be convicted of the offense of manufacturing over 400 grams of methamphetamine
where the State's evidence clearly reflected there was less than 400 grams of
methamphetamine."  Because appellant labors under a misconceived understanding of the
law related to the offense of manufacturing a controlled substance, we disagree.  In
reviewing the legal sufficiency of the evidence to support a conviction, we view the
evidence in the light most favorable to the verdict, and ask whether a rational trier of fact
could find the essential elements of the crime beyond a reasonable doubt.  Jackson v.
Virginia, 443 U.S. 307, 319, 99 S. Ct. 2781, 2789, 61 L.Ed.2d 560, 573 (1979).  In our
review, we must evaluate all of the evidence in the record, both direct and circumstantial,
whether admissible or inadmissible.  Dewberry v. State, 4 S.W.3d 735, 740 ( Tex.Cr.App.
1999), cert. denied, 529 U.S. 1131, 120 S.Ct. 2008, 146 L.Ed.2d 958 (2000).  This
standard gives full play to the responsibility of the trier of fact to resolve conflicts in the
testimony, to weigh the evidence, and to draw reasonable inferences from basic facts to
ultimate facts.  Jackson, 44 U.S. at  319. 

	When the State proved that the substances seized from the crime scene had a
combined weight of well over 400 grams, and that they contained methamphetamine,
regardless of its concentration, it established the elements of the offense as alleged in the
indictment beyond a reasonable doubt.  See Williams v. State, 936 S.W.2d 399, 405
(Tex.App.-Fort Worth 1996, pet. ref'd)(holding that proof of the gross weight of the
controlled substance appellant manufactured was sufficient, and that the State need only
to have demonstrated that part of the substance was a controlled substance, and that the
aggregate weight exceeded the minimum statutory amount).  Furthermore, appellant
entered into a stipulation of evidence judicially confessing that on the date of the offense
he manufactured methamphetamine in an amount of 400 grams or more.  In short, the
evidence is legally sufficient to support the verdict.  Appellant's third point of error is
overruled.

	With his fourth and final point of error, appellant claims his conviction should be
reversed because the attorney for the State "intentionally or recklessly made a false
material representation in open court."  We disagree.  Like appellant's other points of error,
this one is premised on his misconception of the law.  Appellant faults the attorney for the
State for commenting during cross-examination that appellant was responsible for the
gross weight of the controlled substance seized from the crime scene.  According to
appellant, the "State's attorney knew or should have known that his representation . . . was
false."  Apart from his bald assertion that "[i]n the interest of justice, said cause should be
reversed and [appellant] acquitted because of prosecutorial misconduct," however,
appellant has failed to provide any argument or authority in support of his position. 
Notwithstanding that inadequacy, we discern nothing improper about the prosecutor's
statement.  Indeed, as detailed in length above, the State was merely required to prove
that a portion of the substance appellant was charged with manufacturing was a controlled
substance, and that the aggregate weight of the seized substances exceeded the minimum
statutory amount.  See Williams, 936 S.W.2d at 405.  Thus, the prosecutor's statement
was, in fact, a correct statement of the law.  Appellant's fourth point of error is overruled.

	Accordingly, the judgment of the trial court is affirmed.

						Don H. Reavis

						    Justice

	

Do not publish.
1. Appellant obtains this result by multiplying the weight of the substance tested by
the percentage of methamphetamine, .02%, contained in the substance.
2. Under the statute, a person commits an offense if "the person knowingly
manufactures . . . a controlled substance listed in Penalty Group 1."  Tex. Health &amp; Safety
Code Ann. § 481.112(a) (Vernon 2003).  The indictment in this case alleges that  appellant
"did then and there knowingly manufacture, . . . a controlled substance, namely
methamphetamine, in an amount of 400 grams or more."   
3. Methamphetamine is listed in Penalty Group 1.  Tex. Health &amp; Safety Code Ann.
§ 481.102(6).



ption Locked="false" Priority="39" QFormat="true" Name="TOC Heading"/&gt;
 









NO. 07-09-0077-CR

NO.
07-09-0078-CR

NO.
07-09-0079-CR

NO.
07-09-0080-CR

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN
THE COURT OF APPEALS

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; AT
AMARILLO

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PANEL
B

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JULY
20, 2010

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ______________________________

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SIDNEY LYNN WEEKS, 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; v.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; THE STATE OF TEXAS, 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; _________________________________

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FROM THE 46TH
DISTRICT COURT OF HARDEMAN COUNTY;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NOS. 4088, 4089, 4090, 4091;
HON. DAN MIKE BIRD, PRESIDING

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; _______________________________

&nbsp;

Memorandum Opinion

_______________________________

Before
QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sidney Lynn Weeks (appellant)
appeals his four convictions for aggravated sexual assault.&nbsp; Via twelve issues, he contends that the trial
court erred in 1) denying his motion for severance, 2) denying his motion to
suppress, 3) admitting extraneous evidence, and 4) refusing to charge the jury
per art. 38.22 of the Texas Code of Criminal Procedure.&nbsp; He also asserts that the evidence was
insufficient to support the four convictions.&nbsp;
We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Background

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The circumstances before us involve appellants repeated sexual assaults
upon his stepdaughter while she was between the ages of thirteen and sixteen.&nbsp; When finally contacted, the police began an
investigation into the crimes.&nbsp; Pursuant
thereto, law enforcement officials called appellant and advised him that he was
being investigated.&nbsp; Eventually, a
meeting was arranged between appellant and a DPS ranger (Foster); but when same
was scheduled via phone, appellant was not advised of his Miranda rights.&nbsp;&nbsp; Nevertheless, the two did meet in person,
and at the meeting, appellant was mirandized
before providing the ranger with a statement.&nbsp;
Moreover, during the exchange, the ranger advised appellant that he was
subject to punishment anywhere from probation to ninety-nine years in prison
and that the district attorney would be told of appellants cooperation in the
investigation if a statement was given.&nbsp; &nbsp;&nbsp;

&nbsp;&nbsp;
&nbsp;&nbsp;&nbsp;At trial, the victim testified,
as did Foster.&nbsp; Furthermore, the trial
court admitted appellants written statement, though his oral comments were
excluded.&nbsp; Ultimately, the jury found him
guilty of all four charges.

Issues One and Six

&nbsp;&nbsp;&nbsp;&nbsp;
We address issues one and six since they are logically connected.&nbsp; Via issue one, appellant contends that the
trial court erred by refusing to sever each count into separate trials.&nbsp; This allegedly was wrong because the
admission of extraneous offenses somehow prejudiced him.&nbsp; Via his sixth issue, he posits that it was
error to admit the extraneous offenses.&nbsp;
We overrule the issues. 

 &nbsp;&nbsp;&nbsp;&nbsp; Regarding the admission of the extraneous
offenses, the latter consisted of instances wherein appellant engaged in anal
and oral sex with the victim.&nbsp; This
should have been excluded, according to appellant.&nbsp; Yet, evidence of extraneous acts involving
the accused and the victim may be admissible under art. 38.37 of the Code of Criminal Procedure.[1]&nbsp; Appellant does not explain why that statute
is inapplicable.&nbsp; Moreover, the State contends
that the instances in question had a bearing on relevant matters such as the
state of mind of both appellant and victim and the nature of their prior
relationship.&nbsp;&nbsp; The trial courts
agreement with the State did not fall outside the zone of reasonable
disagreement. &nbsp;See Hernandez v. State, 205 S.W.3d 555,
558 (Tex. App.Amarillo 2006, pet. ref'd) (stating that the standard of review
for issues encompassing the admission of evidence is that of abused discretion
and discretion is abused when the decision falls outside the zone of reasonable
disagreement).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The inappropriate relationship
between appellant and his stepdaughter covers several of the youths teenage
years and evinced frequent assaults.&nbsp; As
such, it could be viewed as relevant to the relationship between the two and
their respective states of mind.&nbsp; The
statements could also be viewed as tending to rebuff appellants attack upon
the victims credibility.&nbsp; He did ask the
jury to ponder upon why she waited so long to &nbsp;disclose the supposed misconduct and
why it was disclosed during an argument with the assailants wife (i.e. the victims mother).&nbsp; Implicit therein is the suggestion that maybe
the events were fabricated.&nbsp; Admitting appellants
own comments about the nature and extent of the sexual activities in which the
two engaged would serve to illustrate that the victim did not simply fabricate
the incidents.&nbsp; See Smith v. State, No. 07-05-0277-CR, 2007 Tex. App. Lexis 6004 *3-6 (Tex. App.Amarillo
July 30, 2007, pet. dismd) (not designated for
publication) (wherein the court held that it was not error to admit instances
of prior sexual activity between the accused and appellant, despite an
objection founded on Rule 403, because, among other things, the evidence tended
to bolster the victims credibility).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We further note that it was within
the realm of reason to deduce that while reference to anal and oral sex may
carry with it prejudicial effect, that effect would be no greater than the
impact arising from the evidence of appellant engaging in vaginal intercourse
with his thirteen-year-old stepdaughter.&nbsp;
And, no one can deny that the latter evidence was admissible given the
allegations contained in the indictment.&nbsp;
So, we cannot say that the trial court abused its discretion in finding
the evidence both relevant and admissible despite appellants Rule 401, 403,
and 404(b) objections.[2]&nbsp; See Hitt v. State, 53 S.W.3d 697, 704-05 (Tex. App.Austin
2001, pet. ref'd) (recognizing that, in cases
involving the sexual abuse of children, article 38.37, section 2 supersedes the
application of Texas Rules of Evidence 402 and 404).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As for the matter of severance,
appellant concedes that the causes were properly joined.&nbsp; However, he posits that they should have been
severed because their joinder caused him to suffer
prejudice.&nbsp; The prejudice, in his view,
arose from the States use of the aforementioned evidence of extraneous
offenses.&nbsp; How severance would have
precluded the State from invoking art. 38.37 went unexplained, however.&nbsp; Indeed, having concluded above that the trial
court did not abuse its discretion in admitting the evidence when the causes
were joined, we have difficulty understanding why the same evidence would be
inadmissible if the causes were tried separately.&nbsp; Nor does appellant address that.&nbsp; So, under the circumstances before us, the
trial court cannot be said to have abused its discretion in trying the causes
together.&nbsp; Salazar v. State, 127 S.W.3d 355, 365 (Tex. App.Houston
[14th Dist.] 2004, pet. refd) (noting
that the pertinent standard of review is one of abused discretion).

Issues
Two through Five - Admission of Appellants Confession and the

&nbsp;Evidence of the Extraneous Offenses Therein

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant next contends that the
trial court erred in admitting his written statement into evidence.&nbsp; This was so, according to him, because the
statement 1) was involuntary, and 2) was obtained in a manner that violated due
process and article 38 of the Texas Code of Criminal Procedure.&nbsp; We disagree and overrule the issues.

Regarding
the issue of voluntariness, appellant suggests his statement was involuntary
because it was given in response to the rangers promise to speak with the
district attorney if appellant cooperated and his representation that the crime
for which appellant was being investigated could carry a sentence ranging from
probation to ninety-nine years in prison.&nbsp;
Neither of these grounds was urged at trial as basis for finding his
confession less than knowing and voluntary, however.&nbsp; That is, he did not argue that the confession
was involuntary because it arose from a promise or representation of the type
which would induce someone to speak untruthfully.&nbsp; Therefore, this particular argument was not
preserved for review.&nbsp; Heidelberg v. State, 144 S.W.3d 535, 537
(Tex. Crim. App. 2004) (stating that the
legal basis of a complaint raised on appeal cannot vary from that raised at
trial).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As for due process and article 38 of
the Code of Criminal Procedure, both were purportedly violated because
appellant was not mirandized
prior to undergoing the custodial interview.&nbsp;&nbsp;
This is allegedly true even though the ranger actually mirandized appellant before he
signed his confession.&nbsp; We find no error.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It is clear that a suspect
undergoing custodial interrogation must be warned of his right to remain
silent, his right to have legal counsel, his right to have counsel appointed if
he is impoverished, and of the potential consequences arising from his refusal
to remain silent.&nbsp; Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966). Such warnings are
not necessary, though, if the interview occurs outside the realm of custodial
interrogation.&nbsp; Herrera v. State, 241 S.W.3d 520, 526
(Tex. Crim. App. 2007).&nbsp;&nbsp;&nbsp; The
trial court found, after conducting an evidentiary hearing, that the statement
at bar was not the product of such an interrogation.&nbsp; And, we find no fault with that
determination.&nbsp; 

According
to the record, the police chief contacted appellant about meeting to review the
allegations raised by his stepdaughter.&nbsp;
Appellant agreed and appeared at the offices of the Department of Public
Safety.&nbsp; There he met with Ranger Foster
for one hour and forty-nine minutes.&nbsp;
Foster testified that appellant was free to go at any time and that if
he left, the ranger would have simply continued his investigation without
appellant.&nbsp; So too did the ranger testify
that appellant was not denied any basic necessity such as food, or water, or
cigarettes or anything like that.&nbsp; And,
once the interviewed ended, appellant left.&nbsp;&nbsp;
It may well be that appellant was a suspect in an ongoing investigation.&nbsp; But being a suspect alone does not cause any
ensuing interview to rise to the level of custodial interrogation.&nbsp; Meek v. State, 790 S.W.2d 618, 621
(Tex. Crim. App. 1990) (citing Beckwith v. State, 425 U.S. 341, 96 S.Ct. 1612, 48 L.Ed.2d 1 (1976)); accord, Samuel v. State, No. 02-08-341-CR, 2010 Tex. App. Lexis 1372, *17 (Tex. App.Fort
Worth February 25, 2010, no pet.) (not designated for
publication) (stating the same).&nbsp; &nbsp;Moreover,
we cannot forget that appellant was actually mirandized before executing his written
confession.&nbsp; And, upon receiving those
warnings, he not only indicated to the ranger that he understood them but also
that he wished to proceed without counsel.&nbsp;


Missing
from the record is any evidence of threats.&nbsp;
Nor do we have before us evidence of appellant being physically
restrained in any manner.&nbsp;&nbsp; And, that
Foster informed appellant about the potential range of punishment for the
alleged offense and stated he would let the district attorney know that
appellant cooperated falls short of evincing psychological coercion.&nbsp; Indeed, appellant himself characterized the
representations (in his appellate brief) as seem[ing]
innocuous enough.&nbsp; Furthermore, they could
have been reasonably interpreted, by the trial court, as an effort to impress
upon appellant the gravity of the situation and as a means of fully informing
him of potential ramifications arising from the allegation.&nbsp; In other words, the ranger may have simply
been attempting to provide appellant with all the information available to
assist him in making an informed choice.&nbsp;
And, if placed within that perspective, we cannot say that they alone or
in conjunction with the other circumstances then present somehow obligated the
trial court to conclude that appellant was neither free to leave nor able to
terminate the interview at will.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Simply put, the trial court had
basis to legitimately conclude that the interview was not tantamount to a
custodial interrogation.&nbsp; As stated in Martinez v. State, 131 S.W.3d 22 (Tex.
App.San Antonio 2003, no pet.), when the
circumstances show that the individual acts upon the invitation or request of
the police, and there are no threats, express or implied, that he will
be forcibly taken, then that person is not in custody at that time.&nbsp; Id. at 32.&nbsp; Those are
the indicia here.&nbsp; Thus, the decision to
deny suppression of the statement because appellant was not mirandized at the beginning of the interview was not
error.&nbsp; &nbsp;&nbsp;

Issue Eleven  Jury Charge

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Via issue eleven, appellant asserts
that the trial court erred by failing to submit a limiting instruction to the
jury regarding the purposes for which it could consider the evidence of the
aforementioned anal and oral sexual acts.&nbsp;
We disagree and overrule the issue.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The party opposing effort to admit
evidence admissible for a restricted purpose has the burden of requesting a
limiting instruction when the evidence is introduced.&nbsp; Hammock v. State, 46 S.W.3d 889, 895 (Tex. Crim. App. 2001).&nbsp; That is, to be effective, such an instruction
must be given when the evidence is admitted.&nbsp;
See Rankin v. State, 974 S.W.2d 707, 712 (Tex. Crim. App. 1996).&nbsp; If it is not, then the information simply
becomes part of the general evidence and may be considered by the jury for all
purposes.&nbsp; See Garcia v. State, 887 S.W.2d 862, 878 (Tex.
Crim. App. 1994).&nbsp; We say this since appellant
did not request a limiting instruction before, during or immediately after the
written confession was offered, admitted into evidence, and read to the
jury.&nbsp; Consequently, his statement was
admitted for all purposes.&nbsp; See Hammock v. State, 46 S.W.3d at 895
(holding that when a party fails to ask for a limiting instruction until later
in the trial, the evidence is admitted for all purposes); Jones v. State, 119 S.W.3d 412, 424 (Tex. App.Fort
Worth 2003, no pet.) (holding that when a party
requests a limiting instruction concerning a witness's testimony after the
witness testifies, the evidence is admitted for all purposes).&nbsp; 

Issues Seven through Ten 
Sufficiency of the Evidence

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In his next four issues, appellant
contends that the evidence is both legally and factually insufficient to
establish that he had engaged in sexual intercourse with the victim when she was
fourteen or younger and seventeen or younger.&nbsp;
We overrule each issue for several reasons.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; First, the assertion is premised on
the exclusion of his confession.&nbsp; Since
we overruled the issues attacking the trial courts decision to admit the
confession, the foundation of his argument is missing.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Second, within the
confession lay appellants own admission to engaging in sexual intercourse with
the child.&nbsp; To this we add the
childs own testimony about her age when the two first coupled, i.e. thirteen years old.&nbsp; Those activities continued, according to the
victim, during the time the family lived in both Quanah and Wichita Falls.&nbsp;&nbsp; So too did appellants stepdaughter testify
that after she left Wichita Falls and returned to Quanah at the age of sixteen,
appellant picked her up from work.&nbsp; On
the way home, he told her that he would make her get out of the car and walk if
she did not have sex with him.&nbsp; She
complied with the demand, according to the girl.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; It is well settled that "[t]he
testimony of a victim [,] standing alone, even when the victim is a child, is
sufficient to support a conviction for sexual assault."&nbsp; Ruiz v.
State, 891 S.W.2d 302, 304 (Tex. App.San Antonio 1994,
pet. ref'd) (citing Villalon v. State, 791 S.W.2d 130 (Tex.Crim.App.1990)).&nbsp; Here, the childs own words coupled with
appellants confession constituted some evidence from which the jury could
rationally deduce beyond reasonable doubt that the victim was fourteen and
under when the sexual activity began and continued while she was between the
ages of fifteen and seventeen.&nbsp;&nbsp;
Moreover, such a conclusion would not be supported by weak evidence, or overwhelmed
by contrary evidence, or manifestly unjust.

Issue Twelve  Jury
Instruction Pursuant to Art. 38.22

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Via his last issue, appellant posits
that he was entitled to a charge per art. 38.22, §7 of the
Texas Code of Criminal Procedure and that the trial court erred in refusing it
to him.&nbsp;&nbsp; We overrule the
issue.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;Per the aforementioned statute, when question
regarding the legality by which evidence is obtained is raised by the
evidence, the trial judge shall appropriately instruct the jury, generally, on
the law pertaining to such statement."&nbsp;&nbsp;
Tex. Code Crim.
Proc. Ann. art. 38.22, §7 (Vernon 2005).&nbsp;
If no such evidence (irrespective of whether it is strong, weak,
contradicted, impeached or unbelievable) exists, then it is not error to omit
such an instruction.&nbsp; Muniz v. State, 851 S.W.2d 238, 254
(Tex. Crim. App.1993).&nbsp; By
evidence, it is meant evidence creating a fact issue encompassing the manner in
which the proof was secured.&nbsp; See Madden v. State, 242 S.W.3d 504,
509-10 (Tex. Crim. App. 2007).&nbsp; If no
such fact issue exists, then an instruction need not be given.&nbsp; Id.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; According to appellant, there
existed a fact issue as to whether he was in custody or whether he underwent a
custodial interrogation when providing his statement.&nbsp; Yet, we are cited to nothing of record
illustrating that the factual circumstances from which his statement arose were
in dispute or otherwise contradicted.&nbsp;
Nor did we find any such evidence.&nbsp;
Instead, it appears that appellant simply wanted the jury to have the
opportunity to apply the test for what constitutes a custodial interrogation to
the undisputed evidence.&nbsp; That falls
outside the scope of art. 38.22.&nbsp;&nbsp; See Madden v. State, 242 S.W.3d at
511-13.&nbsp;&nbsp;&nbsp; 

Having
overruled each issue, we affirm the judgments of the trial court.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Brian Quinn

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Chief
Justice

&nbsp;

Do not publish.

&nbsp;











[1]According to that provision, [n]otwithstanding Rules 404 and 405, Texas Rules of Evidence,
evidence of other crimes, wrongs, or acts committed by the defendant against
the child who is the victim of the alleged offense shall be admitted for its
bearing on relevant matters, including: (1) the state of mind of the defendant
and the child; and (2) the previous and subsequent relationship between the
defendant and the child.&nbsp; Tex. Code Crim. Proc. Ann. art. 38.37,
§2 (Vernon Supp. 2009).

&nbsp;





[2]Rule 401 of the Texas Rules of
Evidence states: [r]elevant evidence means
evidence having any tendency to make the existence of any fact that is of
consequence to the determination of the action more probable or less probable
than it would be without the evidence.&nbsp; Tex. R. Evid. 401 (Vernon 2003).&nbsp;
Rule 403 states: [a]lthough relevant,
evidence may be excluded if its probative value is substantially outweighed by
the danger of unfair prejudice, confusion of the issues, or misleading the
jury, or by considerations of undue delay, or needless presentation of
cumulative evidence.&nbsp; And, Rule 404(b)
states:&nbsp; [e]vidence
of other crimes, wrongs or acts is not admissible to prove the character of a
person in order to show action in conformity therewith . . . .







